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                  IN THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF GEORGIA
                            ATHENS DIVISION

SHANNON C. VINSON,                  *
                                    *
     Plaintiff,                     *
                                    *
v.                                  *      CIVIL ACTION NO.
                                    *
CREATURE COMFORTS BREWING           *
COMPANY, LLC,                       *
                                    *      JURY TRIAL DEMAND
     Defendant.                     *

                                  COMPLAINT

     Comes    Now,   Plaintiff,    Shannon    C.   Vinson,    and   files   her

Complaint    against   the   above-named     Defendant   on   the   following

grounds:

                               INTRODUCTION

                                     1.

     This is an action        for violations of       the Americans with

Disabilities Act (“ADAAA”), codified at 42 U.S.C. § 12101 et seq.,

as amended by the Civil Rights Act of 1991 and the ADA Amendment

Acts of 2008 and for violations of the Family Medical Leave Act

(“FMLA”), codified at 29 U.S.C. § 2601 et seq.

                               JURISDICTION

                                     2.

     The jurisdiction of this Court is invoked pursuant to 28

U.S.C. § 1331 and 28 U.S.C. § 1343.
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                                   3.

    Defendant is an “employer” engaged in an industry affecting

commerce, as defined by 42 U.S.C. § 12111(5)(A).

                                   4.

    Defendant is an “employer,” as defined by 29 U.S.C. § 2611(4).

                                   5.

    This Court has personal jurisdiction over Defendant.

                                   6.

    Defendant is a for-profit Georgia limited liability company

doing business within the State of Georgia.

                                   7.

    At all times relevant, Defendant operated its brewing company

in the State of Georgia.

                                   8.

    Defendant is subject to the jurisdiction of this Court.

                                 VENUE

                                   9.

    Defendant operates its business within the Athens Division of

the Middle District of Georgia.

                                  10.

    All actions by Defendant alleged herein occurred within the

Athens Division of the Middle District of Georgia.




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                                  11.

    Venue in this district is proper for the Defendant pursuant

to 28 U.S.C. § 1391(b) & (c).

                              THE PARTIES

                                  12.

    The Plaintiff is a former employee of Defendant who resides

in Fulton County, Georgia.

                                  13.

    Defendant is a Georgia limited liability company operating

its brewing business in the State of Georgia.

                                  14.

    Defendant may be served with summons and process by service

upon its registered agent, Spence Johnson at 335B Oconee Street,

Athens, Clarke County, Georgia 30601.

                                  FACTS

                                  15.

    Defendant   operates    its   brewery   in   the   United   States   of

America, including the State of Georgia.

                                  16.

    In April of 2014, the Plaintiff began her employment as an

Event Coordinator with Defendant.




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                                  17.

     During her employment, the Plaintiff was promoted several

times because of her exemplary performance.

                                  18.

     In 2017, the Plaintiff was promoted to the Consumer Marketing

Manager.

                                  19.

     Throughout her employment, the Plaintiff performed her duties

in an exemplary manner.

                                  20.

     In May of 2019, Chris Herron, Chief Executive Officer for

Defendant, issued the Plaintiff an outstanding performance review,

along with a raise and bonus.

                                  21.

     In June of 2019, the Plaintiff disclosed to her supervisor,

Will Riley, Director of Marketing, that she was diagnosed with

major depression and acute anxiety disorder.

                                  22.

     The Plaintiff informed Riley that she was having issues with

the medication that she was taking to treat her major depression

and acute anxiety disorder, and that she may need to take time off

due to her major depression and acute anxiety disorder.




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                                  23.

    Riley   told   the   Plaintiff    that   he   would   discuss     their

conversation with Herron.

                                  24.

    In September of 2019, the Plaintiff discussed her major

depression and acute anxiety disorder with Herron.

                                  25.

    During a meeting on September 13, 2019, Herron berated the

Plaintiff, exacerbating her depression and anxiety.

                                  26.

    During this time period, the Plaintiff expressed to Defendant

that she may need time off to address her depression and anxiety.

                                  27.

    Defendant failed to engage in an interactive process to

accommodate the Plaintiff.

                                  28.

    Defendant failed to allow the Plaintiff to take leave as a

reasonable accommodation.

                                  29.

    Defendant failed to reasonably accommodate the Plaintiff.




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                                  30.

     Defendant was on notice that the Plaintiff needed FMLA leave

for her serious health condition.

                                  31.

     Defendant failed to inform the Plaintiff of her FMLA rights.

                                  32.

     After disclosing her disability and her need for time off to

address her depression and anxiety, the Plaintiff was placed on

administrative leave for allegedly violating company policies.

                                  33.

     On October, 1, 2019, Herron terminated the Plaintiff and

issued a Separation Notice stating the reason as “lack of work.”

                                  34.

     The Plaintiff’s position and duties were not eliminated.

                                  35.

     After the Plaintiff was terminated, Defendant hired other

employees to perform her prior duties and her position as Consumer

Marketing Manager.




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                                        36.

    Other     employees   have     engaged     in     similar   conduct   as   the

Plaintiff was accused, and/or have engaged in more egregious

conduct and/or violations of company policy, but have not been

disciplined, much less terminated.

                                        37.

    Defendant      terminated      Plaintiff     for    false   and   pretextual

reasons.

                                        38.

    The Plaintiff’s major depression and acute anxiety disorder

are disabilities as defined by the ADAAA.

                                        39.

    The Plaintiff’s major depression and acute anxiety disorder

are serious health conditions as defined by FMLA.

                                        40.

    Defendant      violated      the    FMLA     by    interfering    with     the

Plaintiff’s substantive rights to which she is entitled under the

FMLA by terminating her.

                                        41.

    Defendant      engaged    in       illegal      retaliation    against     the

Plaintiff because the Plaintiff exercised her rights under the

FMLA.




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                                       42.

    Defendant’s decision to terminate the Plaintiff violates the

ADAAA.

                                       43.

    Defendant       has   engaged      in    unlawful   discrimination,     in

violation of the ADAAA.

                                       44.

    The Defendant failed to reasonably accommodate the Plaintiff

under the ADAAA.

                   COUNT ONE:    ADAAA – DISCRIMINATION

                                       45.

    Plaintiff incorporates herein paragraphs 1 through 44 of her

Complaint.

                                       46.

    The Plaintiff suffers from a disability as defined by the

ADAAA.

                                       47.

    Plaintiff       has   a   record   of    a   physical   impairment    that

substantially limits one or more of her major life activities.




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                                     48.

    Defendant regarded and/or perceived the Plaintiff as having

a physical impairment that substantially limited one or more of

her major life activities.

                                     49.

    The Plaintiff is a qualified individual as defined by the

ADAAA.

                                     50.

    Defendant has engaged in discrimination in the terms and

conditions     of   the   Plaintiff’s     employment,   including,    but   not

limited to, by refusing to accommodate her and terminating her.

                                     51.

    The      Plaintiff     is   capable    of   performing   all     essential

functions of her position with a reasonable accommodation.

                                     52.

    The Plaintiff has a physical impairment that substantially

limits one or more of her major life activities.

                                     53.

    Defendant’s conduct violates 42 U.S.C. § 12101 et seq., the

ADAAA, as amended.




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                                    54.

      On or about February 18, 2020, the Plaintiff filed a timely

Charge of Discrimination with the United States Equal Employment

Opportunity       Commission       (“EEOC”)        alleging        disability

discrimination.     (EEOC Charge of Discrimination #410-2020-03772,

attached hereto as Exhibit A)

                                    55.

      The Plaintiff has satisfied all statutory prerequisites for

filing this action.

                                    56.

      On or about March 29, 2021, the Plaintiff received her “Notice

Of   Right   To   Sue”   letter   from    the   EEOC   for   her   Charge   of

Discrimination.     (A true and accurate copy of the EEOC “Notice Of

Right To Sue” letter for EEOC Charge #410-2020-03772, attached

hereto as Exhibit B)

                                    57.

      The Plaintiff has filed this action under the ADAAA within

ninety (90) days after receipt of her “Notice Of Right To Sue”

letter from the EEOC.




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                                   58.

     Defendant’s   discriminatory     conduct,   in   violation   of   the

ADAAA, has caused the Plaintiff to suffer a loss of pay, benefits,

and prestige.

                                   59.

     Defendant’s actions have caused Plaintiff to suffer mental

and emotional distress, entitling her to compensatory damages

pursuant to 42 U.S.C. § 1981a.

                                   60.

     Defendant has engaged in discriminatory practices with malice

and reckless indifference to the Plaintiff’s federally protected

rights, thereby entitling her to punitive damages pursuant to 42

U.S.C. § 1981a.

                     COUNT TWO:    FMLA VIOLATION

                                   61.

     Plaintiff incorporates herein paragraphs 1 through 60 of her

Complaint.

                                   62.

     The Plaintiff suffers from a serious health condition as

defined by the FMLA.




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                                      63.

    The Plaintiff is an “eligible employee,” as defined by 29

U.S.C. § 2611(2)(A).

                                      64.

    Defendant violated the FMLA by failing to comply with the

notice requirements of the FMLA.

                                      65.

    Defendant violated the FMLA by terminating the Plaintiff.

                                      66.

    Defendant       violated    the    FMLA   by   interfering    with   the

Plaintiff’s substantive rights to which she is entitled under the

FMLA.

                                      67.

    Defendant’s actions entitle the Plaintiff to all remedies,

including, but not limited to, interest, liquidated damages, and

equitable relief, pursuant to 29 U.S.C. § 2617(a).

   COUNT THREE:       FMLA RETALIATION – INTERFERENCE WITH RIGHTS

                                      68.

    Plaintiff incorporates herein paragraphs 1 through 67 of her

Complaint.




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                                       69.

    Defendant retaliated against the Plaintiff by disciplining

her for requesting FMLA qualifying leave.

                                       70.

    Defendant       engaged    in   illegal    retaliation     against   the

Plaintiff because the Plaintiff exercised her rights under the

FMLA.

                                       71.

    Defendant’s actions entitle the Plaintiff to all remedies,

including, but not limited to, interest, liquidated damages, and

equitable relief, pursuant to 29 U.S.C. § 2617(a).

                              PRAYER FOR RELIEF

                                       72.

    Wherefore, Plaintiff prays for a judgment as follows:

    1. That the Court order Defendant to reinstate her employment;

    2. That the Court grant full front pay to the Plaintiff;

    3. That the Court grant full back pay to the Plaintiff;

    4. That the Court grant Plaintiff compensatory damages for

         the humiliation, emotional distress, and other damages

         caused by Defendant’s conduct;

    5. That     the   Court    grant    Plaintiff   punitive   damages   for

         Defendant’s malicious and recklessly indifferent conduct;




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6. That the Court grant Plaintiff all employment benefits she

  would have enjoyed had she not been discriminated and

  retaliated against;

7. That the Court grant Plaintiff liquidated damages and

  interest under the FMLA;

8. That the Court grant Plaintiff expenses of litigation,

  including   reasonable    attorneys’   fees,   pursuant    to   the

  ADAAA, FMLA, and/or 42 U.S.C. § 1988;

9. That the Court grant Plaintiff a jury trial;

10. That the Court grant Plaintiff all other relief the Court

  deems just and proper;

11. That the Court grant temporary, preliminary, and permanent

  injunctive relief prohibiting Defendant from engaging in

  further discriminatory and retaliatory conduct; and

12. That the Court award the Plaintiff full reimbursement for

   all medical expenses incurred by the Plaintiff.

Respectfully submitted this 22nd day of June 2021.

                                   THE REDDY LAW FIRM, P.C.

                                   /s/K. Prabhaker Reddy
                                   K. PRABHAKER REDDY
                                   Attorney at Law
                                   Georgia Bar No. 597320
                                   1325 Satellite Boulevard
                                   Suite 1506
                                   Suwanee, Georgia 30024
                                   Telephone: (678) 629-3246
                                   Facsimile: (678) 629-3247
                                   Email: kpr@reddylaw.net


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